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                 In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                              No. 15-377V
                                          (not to be published)

*************************
                           *
BERNA MALLETT,             *                                     Special Master Corcoran
                           *
               Petitioner, *                                     Filed: June 22, 2017
                           *
          v.               *
                           *                                     Decision by Stipulation; Damages;
SECRETARY OF HEALTH        *                                     Influenza (“Flu”) Vaccine;
AND HUMAN SERVICES,        *                                     Guillain-Barre syndrome (“GBS”);
                           *                                     Necrotizing Myositis (“NM”).
               Respondent. *
                           *
*************************


Martin James Martinez, Martinez Law Office, Napa, CA, for Petitioner.

Lisa Ann Watts, U.S. Dep’t of Justice, Washington, DC, for Respondent.

                                  DECISION AWARDING DAMAGES1

        On April 14, 2015, Berna Mallett filed a petition seeking compensation under the National
Vaccine Injury Compensation Program (“Vaccine Program”).2 The petition alleges that she
suffered from Guillain-Barre syndrome (“GBS”), Necrotizing Myositis (“NM”), quadriparesis,
gait impairment, rhabdomyolysis, and transaminitis as a result of her November 5, 2013, influenza
(“flu”) vaccine. Petitioner further alleges that she has experienced the residual effects of this
condition for more than six months.

1
  Although this Decision has been formally designated “not to be published,” it will nevertheless be posted on the
Court of Federal Claims’s website in accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 (2012). This
means the ruling will be available to anyone with access to the internet. As provided by 42 U.S.C. § 300aa-
12(d)(4)(B), however, the parties may object to the decision’s inclusion of certain kinds of confidential information.
Specifically, under Vaccine Rule 18(b), each party has fourteen days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in substance and is privileged
or confidential; or (2) that includes medical files or similar files, the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the whole decision in its present form will be
available. Id.
2
 The Vaccine Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660,
100 Stat. 3758, codified as amended at 42 U.S.C. §§ 300aa-10 through 34 (2012) (“Vaccine Act” or “the Act”).
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        Respondent denies that the flu vaccine caused Petitioner’s GBS, NM or any other injury.
Nonetheless both parties, while maintaining their above-stated positions, agreed in a stipulation
(filed on June 8, 2017) that the issues before them could be settled, and that a decision should be
entered awarding Petitioner compensation.

        I have reviewed the file, and based upon that review, I conclude that the parties’ stipulation
(as attached hereto) is reasonable. I therefore adopt it as my decision in awarding damages on the
terms set forth therein.

         The stipulation awards:

             A lump sum of $100,000.00 in the form of a check payable to Petitioner.

Stipulation ¶ 8. This amount represents compensation for all damages that would be available
under Section 15(a) of the Act.

        I approve a Vaccine Program award in the requested amount set forth above to be made to
Petitioner. In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the Court is directed to enter judgment herewith.3


         IT IS SO ORDERED.

                                                                       /s/ Brian H. Corcoran
                                                                          Brian H. Corcoran
                                                                          Special Master




3
 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by each filing (either jointly or separately)
a notice renouncing their right to seek review.

                                                           2
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